 

Case: 1:17-cv-00441 Document #: 11 Filed: 03/03/17 Page 1 of 19 PagelD #:102 LD

UNITED STATES DISTRICT COUR Fe 5 sy)
EASTERN DIVISION, WILL COUNTY 6

THOMAS G. BRUTON
CLERK, U.S. DISTRICT COURT

 

Denis Tatlor. *ROB724) COMPLAINT
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Case: 1:17-cv-00441 Document #: 11 Filed: 03/03/17 Page 12 of 19 PagelD #:113

uo ts ILLINOIS DEPARTMENT OF CORRECTIONS \W- v -}2.

. Administrative Review Board
Return of Grievance or Correspondence

 

Offender: loon Qrun mid ta. i A los) 4

Facility: \V \ E \)

X] Grievance: Facility Grievance # «tappticablef WOE OYD, i Aecloted: \rlag) Ilo or (] Correspondence: Dated:

Received: | | . | \") Regarding: Awww Ro\| Liou = Saft Asscurlttor /Luecwons
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The attached grievance or correspondence is being returned for the following reasons:

 

Additional information required:
Provide a copy of your written Offenders Grievance, DOC 0046, including the counselor's response, if applicable.

Provide a copy of the Response to Offender’s Grievance, DOC 0047, including the Grievance Officer's and Chief Administrative
Officer's response, to appeal.

Provide dates of disciplinary reports and facility where incidents occurred.

OO oR

Unable to determine nature of grievance or correspondence; submit additional specific information. Please return the attached
grievance or correspondence with the additional information requested to: Administrative Review Board

Office of Inmate Issues

1301 Concordia Court

Springfield, IL 62794-9277

 

 

Misdirected:
[1 Contact your correctional counselor regarding this issue.
L] Request restoration of Statutory Sentence Credits to Adjustment Committee. If the request is denied by the facility, utilize the
offender grievance process outlined in Department Rule 504 for further consideration.
L] Contact the Record Office with your request or to provide additional information.
[] Personal property issues are to be reviewed at your current facility prior to review by the Administrative Review Board.
L] Address concerns to: Illinois Prisoner Review Board

| 319 E. Madison St., Suite A
| Springfield, IL 62706

 

 

No further redress:

L] Award of Supplemental Sentence Credits are discretionary administrative decisions; therefore, this issue will not be addressed
"further.

Not submitted in the timeframe outlined in Department Rule 504; therefore, this issue will not be addressed further.
This office previously addressed this issue on

Date
No justification provided for additional consideration.

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Inmate Issues y

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Case: 1:17-cv-00441 Document #: 11 Filed: 03/03/17 Page 13 of 19 PagelD #:114

ILLINOIS DEPARTMENT OF CORRECTIONS
OFFENDER'S GRIEVANCE

 

 

Date: — a - | Offender: he : ID#: NA
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NATURE OF GRIEVANCE:

 

 

 

 

 

(1) Personal Property [C1 Mail Handling C1) Restoration of Good Time C Disability
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(] Transfer Denial by Facility [] Transfer Denial by Transfer Coordinator (specify): ABE Ret V Le
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(1 Disciplinary Report: i L 2 Brew Safe & AW)
Date of Report Facility where issued

Note: Protective Custody Dentals may be grieved immediately via the local administration on the protective custody status notification.
Complete: Attach a copy of any pertinent document (such as a Discip!inary Report, Shakedown Record, etc.) and send to:

Counselor, unless the issue involves discipline, is deemed an emergency, or is subject to direct review by the Administrative Review Board.
Grievance Officer, only if the issue involves discipline at the present facitity or issue not resolved by Counselor.
Chief Administrative Officer, only if EMERGENCY grievance.

Administrative Review Board, only if the issue involves transfer denial by the Transfer Coordinator, protective custody, involuntary

administration of psychotropic drugs, issues from another facility except personal property issues, or issues not resolved by the Chief
Administrative Officer.

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| Counselor’s Response ((f applicable) |
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Administrative Review Board, P.O. Box 19277,
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| EMERGENCY REVIEW |
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Chief Administrative Officer's Signature Date

 

Distribution: Master File; Offender Page 1 DOC 0046 (Rev. 3/2005)

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OFFICE OF THE ATTORNEY GENERAL
STATE OF ILLINOIS

Lisa Madigan

ATTORNEY GENERAL

February 2, 2017

Mr. Dennis Taylor, R68729
Menard Correctional Center
P.O. Box 1000

Menard, Illinois 62259

Via electronic mail

Mr. Joel M. Diers

Freedom of Information Office
Illinois Department of Corrections
1301 Concordia Court

P.O. Box 19277

Springfield, Illinois 62794-9277
joel.diers@doc.illinois.gov

RE: FOIA Request for Review — 2016 PAC 42608; IDOC #16 0606063

Dear Mr. Taylor and Mr. Diers:

This determination is issued pursuant to section 9.5(f) of the Freedom of
Information Act (FOIA) (5 ILCS 140/9.5(f) (West 2014)). For the reasons that follow, the
Public Access Bureau concludes that the response by the Illinois Department of Corrections
(IDOC) to Mr. Dennis Taylor's June 1, 2016, FOIA request violated FOIA.

On that date, Mr. Taylor submitted a FOIA request to IDOC seeking copies of
"the rule + policy on the weapon violation/staff assaulter, [institutional directive] 05.03.14 /
[administrative directive] 0503.14."' On June 8, 2016, IDOC responded by indicating that it did
not maintain or possess any records responsive to the request. On June 24, 201 6, this office
received Mr. Taylor's Request for Review disputing IDOC's denial.

On June 30, 2016, this office forwarded a copy of the Request for Review to
IDOC, and asked it to provide a detailed explanation of the search it performed to locate records
responsive to Mr. Taylor's request and to clarify if IDOC possessed any records regarding IDOC
and/or Stateville Correctional Center (Stateville) rules and policies concerning weapon

 

'Letter from Dennis Taylor to FOIA Officials (June 1, 2016).

500 South Second Street, Springfield, Illinois 62706 + (217) 782-1090 * TTY: (217) 785 -2771 * Fax: (217) 782-7046
100 West Randolph Street, Chicago, Illinois, 60601 * (312) 814-3000 + TTY: (312) 814-3374 © Fax: (312) 814-3806
1001 East Main. Carbondale. Illinois 62901 * (412) 579-6400 * TTY: (618) §99-442 © Fay: (618) 590-6416

 
 

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Mr. Dennis Taylor
Mr. Joel Diers
February 2, 2017
Page 2

violations/staff assaulters. On July 1, 2016, IDOC responded by reasserting that IDOC did not
possess or maintain any directives corresponding to the numbers given by Mr. Taylor. IDOC
explained that upon receipt of Mr. Taylor's request, the IDOC Freedom of Information officer
contacted the IDOC and Stateville Correctional Center Policy and Directives units and was
informed that no policies existed under the numbers listed in the FOIA request. IDOC noted that
some individual prisons maintained institutional directives regarding weapons violators and staff
assaulters, but IDOC routinely denied requests for those directives based on their relation to the
security of a correctional facility. In follow-up correspondence with an Assistant Attorney
General in the Public Access Bureau, IDOC again confirmed that no directives existed with the
numbers provided by Mr. Taylor and further explained that there were no administrative
directives specifically dealing with staff assaulters/weapons violators. IDOC further explained
that some individual prisons had institutional directives regarding staff assaulters/weapons
violators, but the numbers of those directives were different at each prison. On July 27, 2017,
this office received a reply from Mr. Taylor.

DETERMINATION

FOIA provides that "all records in the custody or possession of a public body" are
presumed to be open to inspection or copying. 5 ILCS 140/1.2 (West 2012). When presented
with a FOIA request, a public body is required to conduct a "reasonable search tailored to the
nature of a particular request." Campbell v. United States Department of Justice, 164 F.3d 20, 28
(D.C. Cir. 1998). A public body is not required to "search every record system[,]" but it "cannot
limit its search to only one record system if there are others that are likely to turn up the
requested information." Oglesby v. United States Department of the Army, 920 F.2d 57, 68
(1990); see also Yeager v. Drug Enforcement Administration, 678 F.2d 315, 321 (D.C. Cir
1982) ("A requester is entitled only to records that an agency has in fact chosen to create and
retain.").

Although a FOIA request must "reasonably describe[ ]" the record being sought
so that the public body "is able to determine precisely what records are being requested[ ]"
Yeager, 678 F. 2d at 326, the public body has "a duty to construe a FOIA request liberally."
Nation Magazine, Washington Bureau v. United States Customs Service, 71 F. 3d 885, 890 (D.C.
Cir. 1995) (citing Truitt v. Department of State, 897 F, 2d 540, 544-545 (D.C. Cir. 1990)).
Liberally construing the scope of FOIA requests advances FOIA's fundamental policy goal in
favor of full disclosure of public records. Department of Air Force v. Rose, 425 U.S. 352, 360—
61, 96 S. Ct. 1592 (1976). In order to properly construe a request, the public body must look to
the full scope and precise language of the FOIA request when determining what records are
responsive. See Judicial Watch, Inc. v. United States Department of Energy, 310 F.Supp.2d 271,
306 (D.D.C. 2004), aff'd in part, rev'd in part on other grounds (holding an agency search to be
unreasonable because it did not encompass the full scope or precise language of the plaintiff's
request).
 

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In this instance, Mr. Taylor's FOIA request sought the rule and policy pertaining
to weapons violations/staff assaulters and provided the numeric titles to what he believed to be
the corresponding administrative and institutional directives. IDOC searched institutional
directives only at Stateville, which was a reasonable interpretation of Mr. Taylor's request, as he
was incarcerated at Stateville at the time of his request. However, IDOC searched only for the
numeric titles, ignoring the general subject matter category identified in Mr. Taylor's request. In
its responses to the Public Access Bureau, IDOC acknowledged that some individual prisons
possess institutional directives on weapons violations/staff assaulters, but it did not respond to
this office's direct question regarding whether Stateville possessed a relevant policy. The fact
that some individual prisons maintain weapons violations/staff assaulters policies indicates that a
search for responsive records at Stateville would not necessarily have been futile.

IDOC's assertion that it possesses no responsive institutional directives is based
on its unreasonably narrow construction of the FOIA request as limited to the numeric titles
provided by Mr. Taylor. Because Mr. Taylor reasonably described the records he sought in his
FOIA request with both a general subject matter description and numeric titles, IDOC was
required either to provide any responsive records that it maintains to Mr. Taylor or to assert an
applicable exemption within five business days of receiving his request. Therefore, IDOC's
failure to reasonably construe the portion of Mr. Taylor's FOIA request for an institutional
directive regarding weapons violations/staff assaulters and to provide any non-exempt responsive
records violated FOIA. This office requests that IDOC search for institutional directives at
Stateville on the topic of weapons violators/staff assaulters. If IDOC identifies responsive
records, it should either provide them to Mr. Taylor or, if it asserts that the records are exempt
under FOIA, it should issue a written denial of Mr. Taylor's request in accordance with section
9(a) of FOIA (5 ILCS 140/9(a) (West 2014)).

Regarding relevant administrative directives, IDOC confirmed that it did not
possess any responsive records either with the numeric title provided by Mr. Taylor or on the
topic of weapons violations/staff assaulters, and this office has not received any information
from which we could conclude that IDOC is withholding responsive records. Accordingly,
based on the available information, we conclude that IDOC's response to Mr. Taylor's request for
an administrative directive pertaining to weapons violators/staff assaulters did not violate FOIA.

 
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The Public Access Counselor has determined that resolution of this issue does not
require the issuance of a binding opinion. This letter shall serve to close the matter. If you have
any questions, please contact me at the Springfield address listed on the first page of this letter.
Thank you.

 

Very truly yours,

Yura ddatir

LAURA S. HARTER

Assistant Attorney General

Public Access Bureau
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